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                                    UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            AMARILLO DIVISION

  IN RE:    Krisu Hospitality LLC                                         CASE NO.     19-20347-11

                                                                         CHAPTER       11

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Date:      11/7/2019                                    /s/ Patrick A. Swindell
                                                        Patrick A. Swindell
                                                        Attorney for the Debtor(s)


Bhiren Patel                            Direct Tv                                    Internal Revenue Service*
5 West Way Carshalt                     P.O. Box 410347                              Centralized Insolvency Operation
                                        Charlotte, NC 28241                          PO Box 7346
                                                                                     Philadelphia, PA 19101-7346



Brianna Cooper                          Expedia                                      Kamlesh Patel
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Lubbock, TX 79424                       Bellevue, WA 98004                           Palatka, FL 32177




BW Chase Visa                           Farmers Insurance                            Krisu Hospitality LLC
P.O. Box 15298                          P.O. Box 2847                                500 W. Harvester
Wilmington, DE 19850                    Grand Rapids, MI 49501                       Pampa, TX 79065




Centennial Bank                         Govind Kaka Patel                            Look Outdoor
7207 82nd st                            1216 48th St                                 700 N Florida St
Lubbock, TX 79424                       Lubbock, TX 79412                            Borger, TX 79007




City of Pampa                           Gray County                                  LQ Chase Visa
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Pampa, TX 79065                         Pampa, TX 79066                              Wilmington, DE 19850




Dinesh Patel                            HD Supply                                    Milan Patel
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Amarillo, TX 79124                      San Diego, CA 92150                          Amarillo, TX 79124
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                                            AMARILLO DIVISION

  IN RE:    Krisu Hospitality LLC                                        CASE NO.     19-20347-11

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Navin Bhakta                            Punkaj Patel                                Tim Newsom
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New York Life Insurance                 Raju Patel                                  United Supermarket
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Lincolnwood, IL 60712                   Encino, CA 91436                            Canyon, TX 79015




Oracle elevator                         Rudd F Owen                                 US Attorney General
600 S Tyler St Ste 13                   P.O. Box 328                                Department of Justice
Amarillo, TX 79101                      Plainview, TX 79073                         950 Pennsylvania Ave, N.W.
                                                                                    Washington, DC 20530



Peekay Hospitality                      Sams                                        US Attorney in Charge
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Peekay Refi                             Sparklight Business                         US Small Business Administration
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Dumas, TX 79029                         BORGER, TX 79007                            Lubbock, TX 79401




Popp Hutcheson                          Texas Comptroller of Publlic Accounts       US Trustee
1301 S Mopac                            P.O. Box 13528                              William T. Neary
Austin, TX 78746                        Austin, TX 78711                            1100 Commerce St. Rm. 976
                                                                                    Dallas, TX 75242



Praful Bhakta                           Texas Panhandle Regional Development        Velocity
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